          Case 1:19-cv-00778-CJN Document 10 Filed 05/23/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


CAUSE OF ACTION INSTITUTE,

               Plaintiff,

                       v.                                Civil Action No. 19-0778 (RDM)

UNITED STATES DEPARTMENT OF
COMMERCE,

               Defendant.


   CONSENT MOTION TO RESCHEDULE INITIAL SCHEDULING CONFERENCE

       Defendant, United States Department of Commerce (“Defendant”), respectfully requests

that the initial scheduling conference in this Freedom of Information Act (“FOIA”) case currently

scheduled for June 3, 2019, at 10:00 am be rescheduled to June 13, 14, 17, 18, 20, or such other

date thereafter as is convenient for the Court. Good cause exists to grant this motion as the

undersigned Assistant United States Attorney will be out of the office for previously scheduled

leave through June 11, 2019. Plaintiff’s counsel has advised the undersigned Assistant United

States Attorney that Plaintiff does not object to this request. This is Defendant’s first request for

rescheduling of this conference and the requested rescheduling will not impact any other deadlines.
         Case 1:19-cv-00778-CJN Document 10 Filed 05/23/19 Page 2 of 2



       For the foregoing reasons, Defendant respectfully requests that the Court grant its motion

to reschedule the initial scheduling conference.

Dated: May 23, 2019                          Respectfully submitted,

                                             JESSIE K. LIU, D.C. Bar # 472845
                                             United States Attorney for the District of Columbia

                                             DANIEL F. VAN HORN, D.C. Bar # 924092
                                             Chief, Civil Division

                                          By: /s/ Melanie D. Hendry
                                             Melanie D. Hendry
                                             Assistant United States Attorney
                                             555 Fourth Street, N.W.
                                             Washington, D.C. 20530
                                             (202) 252-2510
                                             melanie.hendry2@usdoj.gov
